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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Norfolk Division



  UNITED STATES OF AMERICA )
                           )
       v.                  )                                            Criminal Case No. 2:13cr098 (RCY)
                           )
  IRFAN M. JAMEEL,         )
                           )
       Defendant.          )


                                        MEMORANDUM OPINION

          This matter is before the Court on Defendant’s Motion for Reduction in Sentence pursuant

  to 18 U.S.C. § 3582(c)(1)(A), filed by counsel on April 30, 2020 (ECF No. 264) (“Motion”). The

  United States has responded (ECF No. 272), the Defendant has replied (ECF No. 274), and the

  Defendant has filed two supplemental memoranda (ECF Nos. 275, 278). The Court has reviewed

  these pleadings and all exhibits, and the matter is ripe for disposition.1 The Court dispenses with

  oral argument because the materials before it adequately present the facts and legal contentions,

  and argument would not aid the decisional process. For the reasons that follow, the Court will

  deny the Motion.

  I. Background

          Irfan M. Jameel (“the Defendant” or “Jameel”) was convicted by a jury on June 12, 2014

  of the four fraud-related counts in the indictment. (ECF Nos. 15, 137.) After the verdict was

  returned, the Court heard argument on detention, Jameel’s bond was revoked, and he was


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    On April 30, 2021, the United States filed a supplemental memorandum (ECF No. 279) and sealed exhibit (ECF
  No. 280). Because the Court’s analysis herein was not affected by the information and arguments contained in the
  supplemental memorandum and sealed exhibit, the Court gave no consideration to the supplemental memorandum
  and sealed exhibit and, accordingly, did not require a response from the Defendant.
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  remanded into custody. (ECF No. 136.) Jameel’s motion for a new trial, filed on June 26, 2014,

  (ECF No. 142), was denied by Opinion and Order filed on September 8, 2014. (ECF No. 154.)

  At the sentencing hearing on December 2, 2014, Jameel’s motion for a downward variance was

  denied, but the Court sustained in part and overruled in part Jameel’s objections to the Presentence

  Investigation Report (“PSR”), resulting in a reduction in the advisory sentencing guideline range

  from an initial range of 135 to 168 months to a revised range of 87 to 108 months. (ECF Nos. 179,

  185.) As reflected in the Judgment in a Criminal Case (ECF No. 180), Senior United States District

  Judge Henry C. Morgan, Jr. sentenced Jameel to a total term of imprisonment of 108 months and

  ordered Jameel to pay restitution in the amount of $1,361,817.10. (ECF Nos. 176-77, 180.)

  Thereafter, Jameel’s various appeals and petitions were denied or dismissed. (See ECF Nos. 213-

  220, 244-47, 252-55, 266-67.)

         Jameel sought compassionate release from the Warden at Federal Medical Center Devens

  in November 2019, and that request was denied on December 6, 2019. (ECF No. 265 at 1, 4.) His

  request for reconsideration was also denied. (Id. at 5.) Jameel later renewed his request for

  compassionate release on March 30, 2020, due to the COVID-19 pandemic and, at the time

  Jameel’s present motion was filed, on April 30, 2020, there was no decision from the Warden. (Id.

  at 2.) The parties agree that Jameel satisfied the exhaustion requirement. (ECF No. 272 at 11;

  ECF No. 274 at 3.) Jameel’s case was reassigned to the undersigned on November 3, 2020.

         According to the response filed by the United States, Jameel was approved in 2020 by the

  Warden to be transferred to home confinement pursuant to 18 U.S.C. § 3624(c)(2) and the BOP’s

  expanded authority under the Coronavirus Aid, Relief, and Economic Security Act (“CARES

  Act”), Pub. L. No. 116-136, § 12003(b)(2), 134 Stat. 281, 516 (2020), which permits the BOP to



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  transfer inmates to home confinement beyond the time frames set forth in § 3624(c)(2),2 but, for

  reasons not clear in the record before the Court, the transfer did not occur. (ECF No. 272 at 3-4.)

  In the meantime, according to Jameel, he tested positive for COVID-19 mid-December 2020 and

  was moved into the hospital at FMC Devens. (ECF No. 275.) According to the medical records

  from BOP, as of December 24, 2020, Jameel was being housed in a quarantine unit at FMC Devens

  where his Covid-19 symptoms were being monitored and he was receiving needed medical care.

  As of February 11, 2021, the Defendant supplemented his Motion, noting some post-COVID

  medical issues and “an additional serious illness . . . schizophrenia.” (ECF No. 278 at 2-3.) Jameel

  also suffers from end-stage renal disease on hemodialysis, diabetes Type 2, congestive heart

  failure, papillary thyroid cancer, diabetic retinopathy, glaucoma, and asthma. (ECF No. 273 at 2.)

  II. Legal Standard: Compassionate Release Under the First Step Act of 2018

           As amended by the First Step Act, 18 U.S.C. § 3582(c)(1)(A) authorizes courts to “reduce

  the term of imprisonment” of a defendant for “extraordinary and compelling reasons” “upon

  motion of the Director of the Bureau of Prisons” or “upon motion of the defendant after the

  defendant has fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons

  to bring a motion on the defendant’s behalf or the lapse of 30 days from the receipt of such a

  request by the warden of the defendant’s facility, whichever is earlier.” 18 U.S.C. §

  3582(c)(1)(A)(i). Once the administrative remedies under § 3582(c)(1)(A) have been exhausted


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    Under § 3624(c)(2), the BOP may release an incarcerated defendant to home confinement “for the shorter of 10
  percent of the term of imprisonment of that prisoner or six months.” The CARES Act permits the BOP to expand
  these time frames. The Court has no authority under § 3624(c)(2) to direct the BOP to place an incarcerated defendant
  in home confinement because such decisions are committed solely to the BOP’s discretion. United States v. Calderon,
  801 F. App’x 730, 731-32 (11th Cir. 2020) (explaining that federal courts lack jurisdiction to grant early release to
  home confinement). Once a court imposes a sentence, “[t]he [BOP] shall designate the place of the prisoner’s
  imprisonment[.]” 18 U.S.C. § 3621(b); see Tapia v. United States, 564 U.S. 319, 331 (2011) (“A sentencing court can
  recommend that the BOP place an offender in a particular facility or program . . . [b]ut decisionmaking authority rests
  with the BOP.”) (emphasis in original).

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  or waived, the Court may reduce or modify a sentence when “extraordinary and compelling

  reasons warrant such a reduction.” Id. Section 3582(c)(1)(A) also requires courts to consider “the

  factors set forth in section 3553(a) to the extent they are applicable” and “applicable policy

  statements issued by the [United States] Sentencing Commission” before granting a sentencing

  modification. Id.

          It is settled that the burden is on the defendant to prove that extraordinary and compelling

  reasons exist for compassionate release under § 3582(c)(1)(A)(i). White v. United States, 378 F.

  Supp. 3d 784, 785 (W.D. Mo. 2019). While courts do not “minimize the risks that COVID-19

  poses in the federal prison system,” the “mere existence of COVID-19 in society and the possibility

  that it may spread to a particular prison alone cannot independently justify compassionate release,

  especially considering BOP’s statutory role, and its extensive and professional efforts to curtail

  the virus’s spread.” United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020). It is also generally

  true that “chronic conditions that can be managed in prison are not a sufficient basis for

  compassionate release.” United States v. Molina, No. 3:15cr31, 2021 WL 1323402, at *2 (E.D.

  Va. Apr. 8, 2021) (citation omitted). “In assessing whether the record shows the existence of

  extraordinary and compelling reasons for compassionate release, courts consider, inter alia, the

  guidance of the CDC [Centers for Disease Control and Prevention], and non-binding policy

  statements of the United States Sentencing Guidelines.” Id. “[T]o constitute extraordinary and

  compelling reasons for compassionate release, medical conditions must be serious.” Id. To

  establish the existence of “extraordinary and compelling” reasons for compassionate release

  because of COVID-193, a defendant generally must show “both a particularized susceptibility to



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   Jameel has not focused on COVID-19 to support his arguments for compassionate release but, instead, has focused
  on his end-stage renal disease and the combination of his other medical conditions, as discussed herein.
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  the disease and a particularized risk of contracting the disease at his prison facility.” United States

  v. White, ___ F. Supp. 3d ___, 2020 WL 1906845, at *1 n.2 (E.D. Va. April 17, 2020) (quoting

  United States v. Feiling, 453 F. Supp. 3d 832, 840 (E.D. Va. 2020)).

         In United States v. McCoy, 981 F.3d 271, 276 (4th Cir. 2020), the Fourth Circuit held that

  “there currently exists no ‘applicable policy statement’” because the Sentencing Commission has

  not issued a policy statement since the passage of the First Step Act. Id. at 281. Therefore, until

  the Sentencing Commission issues an updated policy statement, “district courts are ‘empowered

  to consider any extraordinary and compelling reason for release that a defendant might raise.’” Id.

  at 284 (alteration omitted) (quoting United States v. Brooker, 976 F.3d 228, 230 (2d Cir. 2020)).

         Although the policy statement in U.S.S.G. § 1B1.13 is no longer binding on this Court after

  the Fourth Circuit’s decision in McCoy, many courts are treating § 1B1.13 “as providing useful

  guidance about how the Court should exercise its discretion under § 3582(c)(1)(A),” but they are

  not “treat[ing] its provisions as binding.” United States v. Dean, No. 15-CR-0339(1), 2020 WL

  7055349, at *1 (D. Minn. Dec. 2, 2020) (citing McCoy, 981 F.3d at 281); see also United States v.

  Spencer, 2021 WL 713287, at *2 (E.D. Va. Feb. 24, 2021) (noting that “the policy statement in

  U.S.S.G. § 1B1.13 is no longer binding . . . after . . . McCoy,” but that “the court finds certain of

  its provisions useful in addressing [compassionate release motions]”).

         Section 1B1.13’s guidance provides that a defendant’s medical conditions, age, family

  circumstances, or other circumstances, either singly or in combination, can prove sufficiently

  extraordinary and compelling to justify compassionate release. U.S.S.G. § 1B1.13, application

  notes 1(A)-(D). It advises that, to be extraordinary and compelling, a defendant’s medical

  conditions must be either “terminal . . . with an end of life trajectory” or must “substantially



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  diminish[] the ability of the defendant to provide self-care within the environment of a correctional

  facility and from which he or she is not expected to recover.” § 1B1.13, application note 1(A).

         Similarly, a defendant may be released based on his advanced age when he “is at least 65

  years old,” “is experiencing a serious deterioration in physical or mental health because of the

  aging process” and “has served at least 10 years or 75 percent of his or her term of imprisonment.”

  § 1B1.13, application note 1(B). Defendants may also seek compassionate release based on family

  circumstances, including when the caregiver of a defendant’s minor child has died or become

  incapacitated, or when the defendant’s spouse or partner has become incapacitated and the

  defendant constitutes the only available caregiver. § 1B1.13, application note 1(C). Finally, the

  Sentencing Guidelines contemplate situations in which “there exists in the defendant’s case an

  extraordinary and compelling reason [for compassionate release] other than, or in combination

  with, [the defendant’s medical conditions, age, and family circumstances].” § 1B1.13, application

  note 1(D).

         Even if extraordinary and compelling reasons exist for a reduction in sentence, §

  3582(c)(1)(A) requires courts to consider “the factors set forth in section 3553(a) [of Title 18] to

  the extent they are applicable” and “applicable policy statements issued by the [United States]

  Sentencing Commission” before granting a sentence modification. To that end, § 3553(a) requires

  courts to consider, among other factors, the nature and circumstances of the underlying offense

  and the history and characteristics of the defendant, as well as the need for the sentence imposed

  to reflect the seriousness of the offense, promote respect for the law, provide just punishment,

  afford adequate deterrence and protect the public from further crimes of the defendant. 18 U.S.C.

  § 3353(a)(1)-(2).



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           Additionally, the Sentencing Commission has advised courts to consider whether, based

  on the factors set forth in 18 U.S.C. § 3142(g), a defendant would present a danger to the safety of

  any other person or to the community if released.4 U.S.S.G. § 1B1.13(2). As noted previously,

  pursuant to United States v. McCoy, the policy statement is not binding, but it provides useful

  guidance.

           Ultimately, the Court may reduce a defendant’s sentence under § 3582(c)(1)(A) only after

  (1) the defendant establishes an extraordinary and compelling reason for the reduction, and (2) the

  Court finds that a reduction in the defendant’s sentence would not undermine the relevant §

  3553(a) factors and any applicable policy statements issued by the Sentencing Commission.

  III. Analysis

           The parties agree that Jameel has exhausted his administrative remedies as required. He

  has served more than 75% of the 108-month sentence and is projected to complete his sentence

  and be released on April 3, 2022. The parties also agree that Jameel, age 58, suffers from multiple

  ailments, including end-stage renal disease on hemodialysis, diabetes Type 2, congestive heart

  failure, hypertension, papillary thyroid cancer, diabetic retinopathy, glaucoma, and asthma. (ECF

  No. 273 at 2.) Jameel receives hemodialysis three times per week to address the renal disease.

  (Id. at 3.) The medical records also indicate that Jameel is suffering from schizophrenia and

  COPD. (ECF No. 277 at 8, 13, 16, 18, 44.)




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    As modified in the context of a compassionate release motion, before releasing a defendant, courts should consider:
  (1) the nature and circumstances of the offense of conviction, including whether the offense is a crime of violence, a
  violation of § 1591, a terrorism offense, or an offense involving a minor victim, controlled substance, firearm,
  explosive or destructive device; (2) the weight of the evidence against the defendant; (3) the history and characteristics
  of the defendant, including his or her character, physical and mental condition, family and community ties, financial
  resources, history of substance abuse and criminal history, as well as whether at the time of the instant offense, the
  defendant was on a period of probation, parole or other form of release; and, (4) the nature and seriousness of the
  danger to any person or the community that would be posed by the defendant’s release. 18 U.S.C. § 3142(g)(1)-(4).
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         Jameel contends that his end-stage renal disease is a terminal illness, and he points out that

  the Sentencing Commission lists “end-stage organ disease” as a per se example of a terminal

  illness in § 1B1.13, application note 1(A)(i). (ECF No. 274 at 3.) Jameel’s position is that his

  “diagnosis . . . implies an ‘end-of-life trajectory.’ That is, kidney failure can be mitigated by

  dialysis for a time, but it cannot be cured. Slowly or rapidly, unless the patient qualifies for an

  receives a transplant, the condition will keep getting worse until the patient dies.” (Id. n.2.) Jameel

  also points out that the definition of “terminal illness” is “a disease or condition with an end-of-

  life trajectory,” and that “no chronological ‘life expectancy’ element is required for a condition to

  be recognized as ‘terminal.’” (Id. at 4 (citing § 3582(d)(1))). Further, Jameel argues that the

  combination of his other serious health conditions – insulin-dependent Type 2 diabetes, congestive

  heart failure, asthma, hypertension, glaucoma, diabetic retinopathy, and papillary thyroid cancer –

  also constitutes an “extraordinary and compelling reason” to be considered for sentence reduction.

  (Id. at 5.) Accordingly, Jameel contends, he has serious medical conditions that substantially

  diminish his ability to provide self-care within the environment of a correctional facility and from

  which he is not expected to recover, as set forth in application note 1(A)(ii)(I). (Id. (quotations

  omitted)). Jameel also argues that his mental health issues “affect[] his failure or inability to

  ‘accept responsibility’ for the conduct leading to his conviction and sentence” and are also

  “directly related to his moderate disciplinary history.” (Id. at 8.)

         With regard to the factors under 18 U.S.C. § 3553(a), the Defendant’s arguments can be

  summarized as follows: (1) the “characteristics of the defendant” . . . “now include an incurable

  and (eventually) fatal medical condition;” (2) “service of some six years’ imprisonment adequately

  reflects the seriousness of this significant but non-violent offense, and satisfies the need to provide

  just punishment and to afford adequate deterrence, . . . particularly because service of a sentence

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  while suffering from serious medical conditions, and the psychological impact of having no control

  over one’s own course of treatment, inflicts more punishment in a shorter period of time;” (3)

  Jameel’s age and medical conditions reduce the probability of recidivism; (4) his medical care can

  be more effectively provided at home rather than in the BOP; (5) Jameel’s sentence was “above

  average for bank fraud cases” so “a reduction would not be inconsistent with the need to avoid

  unwarranted sentencing disparities;” (6) his ability to pay restitution would be “enhanced by

  releasing him, so that he can work;” and (7) a reduced sentence would be sufficient but not

  “greater than necessary” to achieve the objectives set forth in section 3553(a). (ECF No. 265 at

  15-18.)

            The United States contends that Jameel has not shown an extraordinary and compelling

  reason for reducing his sentence. It argues that his end-stage renal disease “is not serious and

  advanced.” (ECF No. 272 at 12.) It also argues that the combination of his medical conditions

  does not constitute an extraordinary and compelling reason. (Id. at 19.) It points out that Jameel

  has “routinely disregarded the medical advice and guidance he received from BOP.” (Id. at 15.)

  It notes that there have been multiple times when Jameel refused to take his prescription

  medication compliantly, that he refused surgery, that he refused to attend eye doctor appointments,

  and that he told medical staff that he wanted to withdraw from dialysis. (Id. at 15-16.) The United

  States also notes that Jameel’s medical conditions seem to be generally stable and that there are

  “no diagnoses that would predict a life expectancy of less than 18 months.” (Id. at 16-18.)

            The United States contends that Jameel is “essentially seeking ‘release;’ not compassionate

  release in accordance with the applicable statutory provisions.” (Id. at 17.) It notes that on several

  occasions, when refusing medical treatment, he has told medical staff that “he feels he has been

  unjustly incarcerated,” and that he is “in prison illegally and needs to be released.” (Id.)

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         The United States also argues that even if extraordinary and compelling reasons exist, the

  section 3553(a) factors do not support a reduction. It argues that the nature of the offense –

  “swindl[ing] financial institutions of nearly $4 million through a fraudulent scheme” – and

  Jameel’s characteristics – refusing to accept responsibility and receiving “two specific violations

  related to the unauthorized payment or receipt of money, which mirrors the fraudulent receipt of

  money that led to his conviction” – counsel in favor of denying Jameel’s motion for compassionate

  release. (Id. at 23.) It notes that Jameel has had at least six disciplinary proceedings, including

  “threatening bodily harm,” cocaine use, refusing a work assignment, violating the facility’s rules

  regarding cleanliness, and two separate violations for “giving/accepting money [without]

  authorization.” (Id. at 4.) The United States also contends that both specific and general deterrence

  would be served by denying the motion, in particular when the defendant shows no remorse or

  acceptance of responsibility and has “obstinate[ly] refus[ed] to cooperate with BOP medical staff.”

  (Id. at 24.) Third, it argues that Jameel’s sentence was “appropriate and reasonable given the

  nature of his crime and his obstruction of justice,” and that denying the motion will “properly

  reflect the seriousness of his offense, promote respect for the law, and provide just punishment.”

  (Id.) The fourth argument of the United States – that the BOP is processing Jameel’s release to

  home confinement – is no longer viable, given the passage of time and the failure of the BOP to

  release Jameel to home confinement. (Id. at 25.) Finally, the United States contends that the BOP

  records reflect “the quality care” that Jameel has received in prison and that there is no support for

  his argument that he will receive better care if released. (Id.)

         With regard to whether Jameel has established the existence of “extraordinary and

  compelling” reasons for compassionate release, the Court agrees that Jameel has many serious

  medical conditions. Moreover, the Court does not require a chronological life-expectancy element

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  in order for a condition to described as terminal, as discussed by the parties. But there is no

  indication that these serious medical conditions are not being properly addressed and treated within

  the BOP. Jameel receives needed medical care and medications, including hemodialysis three

  times per week. His thyroid cancer was treated with a thyroidectomy. There is also a history of

  his refusing some recommended medical treatments and medications, although Jameel’s counsel

  points out that some of this behavior may reflect his mental conditions. (See ECF Nos. 272 at 15-

  17; 273 at 11, 15, 17, 18, 20, 22, 23, 25; 274 at 8-9.) Regarding Jameel’s contention that the

  diagnosis of schizophrenia is “an additional serious illness,” (ECF No 278 at 2), it appears that this

  diagnosis was made in 2017. (See ECF No. 277 at 44.) While Jameel has some serious medical

  conditions that require continued treatment, these conditions are being properly treated and are not

  so severe as to provide an extraordinary and compelling reason for a reduction in his sentence.

         Even if the Court agreed that Jameel had established an extraordinary and compelling

  reason for a reduction in his sentence, the Court does not, in its discretion, find a reduction in

  sentence to be appropriate under the relevant § 3553(a) factors and non-binding policy statements.

  The Court finds that a reduction in Jameel’s sentence would, in fact, undermine the relevant §

  3553(a) factors. In particular, a reduction in Jameel’s sentence would undermine the need for the

  sentence to reflect the seriousness of the offense, promote respect for the law, provide just

  punishment, and afford adequate deterrence, given the nature and circumstances of the underlying

  offenses, and Jameel’s history and characteristics. Of particular concern is Jameel’s complete lack

  of remorse and failure to accept responsibility. In addition, Jameel has had at least six disciplinary

  proceedings during his term of imprisonment, including “threatening bodily harm,” cocaine use,

  refusing a work assignment, and two separate violations for “giving/accepting money [without]

  authorization.” Further, Jameel’s sentence of 108 months was and is reasonable and appropriate,

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  and it was and is no greater than necessary to achieve the objectives of § 3553(a). Accordingly,

  Defendant’s Motion for Reduction in Sentence (ECF No. 264) will be denied.

         An appropriate Order shall issue.

                                                                           //s//
                                                                           /s
                                                             Roderick C. Youn
                                                                         Youngunng
                                                             United States
                                                                        es District
                                                                           Distririicctt Judge
  Richmond, Virginia
  Date: May 5, 2021




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